
PER CURIAM.
This is a companion case, though involving a different establishment and different individuals, to G &amp; B of Jacksonville, Inc., d/b/a Out Of Sight v. State of Florida, Department of Business Regulation, Division of Beverage, Case No. DD—443, Opinion filed August 17, 1978. All of the points involved in this case, except the point relating to sufficiency of the evidence, are identical to points presented in, and resolved by, said companion case. As to sufficiency of the evidence, a review of the record reveals it to have been conflicting and contradictory. Under those circumstances it was the prerogative of the hearing officer, in the first instance, to resolve the conflicts and make findings of fact. He did. Those findings were adopted by the agency. We may not reweigh the evidence nor substitute our opinions for those of the hearing officer and agency on conflicting testimony. The record reveals substantial competent evidence, apparently believed by the hearing officer, to support his findings. They will not be disturbed by us.
AFFIRMED.
McCORD, C. J., and BOYER and MELVIN, JJ., concur.
